Case 2:22-cv-00157-DMG-JPR Document 1 Filed 01/07/22 Page 1 of 24 Page ID #:1



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  5    BRANDON PERNELL & KARLY BROWN
  6
  7
  8                         UNITED STATES DISTRICT COURT
  9
                           CENTRAL DISTRICT OF CALIFORNIA
  10
  11    BRANDON PERNELL; KARLY                  CASE NO.:
        BROWN,
  12         Plaintiffs,                        COMPLAINT FOR DAMAGES:
  13    v.                                       (1) Unreasonable Search and
  14                                                 Seizure—Unlawful Entry,
        CITY OF LOS ANGELES; SGT. LOPEZ              Detention and Arrest (42 U.S.C.
        #36501; UNIDENTIFIED LAPD                    § 1983)
  15    OFFICERS; DEFENSE                        (2) Unreasonable Search and
        INTERNATIONAL CORPORATION;                   Seizure—Excessive Force (42
  16    and, GREYSTAR CALIFORNIA, INC.,              U.S.C. § 1983)
  17                                             (3) Conspiracy to Violate Civil
             Defendants.                             Rights (42 U.S.C. § 1983)
  18                                             (4) Monell Claim (42 U.S.C. § 1983)
                                                 (5) Supervisory Liability (42 U.S.C.
  19                                                 § 1983)
                                                 (6) Negligence
  20                                             (7) Assault & Battery
                                                 (8) Trespass
  21                                             (9) Invasion of Privacy
                                                 (10) Bane Act
  22                                             (11) Ralph Act

  23                                            DEMAND FOR JURY TRIAL

  24
             COMES NOW, Plaintiffs, BRANDON PERNELL and KARLY BROWN,
  25
       for causes of action against Defendants, CITY OF LOS ANGELES, SGT. LOPEZ
  26
       #36501, UNIDENTIFIED LAPD OFFICERS, DEFENSE INTERNATIONAL
  27
  28

                                         ¾ 1 ¾
                                 COMPLAINT FOR DAMAGES
Case 2:22-cv-00157-DMG-JPR Document 1 Filed 01/07/22 Page 2 of 24 Page ID #:2



  1    CORPORATION, and GREYSTAR CALIFORNIA, INC., and each of them,
  2    complains and alleges as follows:
  3                                     INTRODUCTION
  4          1.    This civil rights action seeks compensatory and punitive damages from
  5    Defendants for violating Plaintiffs’ various rights under the United States
  6    Constitution in connection with a April 25-26, 2021, encounter between Defendants
  7    and Plaintiffs in connection with an unlawful, entry into Plaintiffs’ residence
  8    without a warrant, detention, arrest, and unlawful use of force.
  9                              JURISDICTION AND VENUE
  10         2.    This civil action is brought for the redress of alleged deprivations of
  11   constitutional rights as protected by 42 U.S.C. §§ 1983, 1985, 1986, 1988, and the
  12   Fourth and Fourteenth Amendments of the United States Constitution. Jurisdiction
  13   is founded on 28 U.S.C. §§ 1331, 1343, 1367.
  14         3.    Venue is proper in this Court under 28 U.S.C. § 1391(b), because
  15   Defendants reside in, and all incidents, events, and occurrences giving rise to this
  16   action occurred in, the City of Los Angeles, California.
  17                                         PARTIES
  18         4.    At all times herein relevant, Plaintiff BRANDON PERNELL, an
  19   individual, is and was a resident of the County of Los Angeles, State of California,
  20   and an African-American adult male.
  21         5.    At all times herein relevant, Plaintiff KARLY BROWN, an individual,
  22   is and was a resident of the County of Los Angeles, State of California, and an
  23   Asian-American adult female.
  24         6.    At all times herein relevant, Defendant DEFENSE INTERNATIONAL
  25   CORPORATION, is, and at all times herein mentioned was, a California
  26   Corporation, doing business in the State of California, operating in the State of
  27   California and availing itself of the privileges and obligations associated therewith.
  28         7.    At all times herein relevant, Defendant GREYSTAR CALIFORNIA,
                                             ¾ 2 ¾
                                     COMPLAINT FOR DAMAGES
Case 2:22-cv-00157-DMG-JPR Document 1 Filed 01/07/22 Page 3 of 24 Page ID #:3



  1    INC., is, and at all times herein mentioned was, a Delaware Corporation, doing
  2    business in the State of California, operating in the State of California and availing
  3    itself of the privileges and obligations associated therewith.
  4          8.    At all times herein relevant, Plaintiffs are informed and believe,
  5    Defendant CITY OF LOS ANGELES (“CITY”), is and was a duly organized public
  6    entity, form unknown, existing under the laws of the State of California. At all
  7    times herein mentioned, Defendant CITY has possessed the power and authority to
  8    adopt policies and prescribe rules, regulations and practices affecting the Los
  9    Angeles Police Department (“LAPD”), and particularly said Department’s Patrol,
  10   Internal Investigations and Training, and Personnel Divisions and other operations
  11   and subdivisions presently unidentified to Plaintiffs, and their tactics methods,
  12   practices, customs and usages.
  13         9.    At all relevant times, CITY was the employer of Defendants SGT.
  14   LOPEZ #36501 and UNIDENTIFIED LAPD OFFICERS, and said individuals
  15   were employees and agents of CITY and LAPD.
  16         10.   At all relevant times, Defendants SGT. LOPEZ #36501 and
  17   UNIDENTIFIED LAPD OFFICERS were duly authorized employees and agents of
  18   the CITY, who were acting under color of law within the course and scope of their
  19   respective duties as Police Officers and with the complete authority and ratification
  20   of their principal, Defendant CITY.
  21         11.   At all relevant times, Defendants SGT. LOPEZ #3650 and
  22   UNIDENTIFIED LAPD OFFICERS, and each of them, were duly appointed
  23   officers and/or employees or agents of CITY, subject to oversight and supervision
  24   by CITY’s elected and non elected officials.
  25         12.   At all relevant times, Defendant SGT. LOPEZ #36501 was the
  26   supervising officer of Defendants UNIDENTIFIED LAPD OFFICERS, and
  27   Defendant SGT. LOPEZ #36501 oversaw, approved, ratified, and consented to all
  28   actions and inactions of Defendants UNIDENTIFIED LAPD OFFICERS that
                                             ¾ 3 ¾
                                     COMPLAINT FOR DAMAGES
Case 2:22-cv-00157-DMG-JPR Document 1 Filed 01/07/22 Page 4 of 24 Page ID #:4



  1    violated Plaintiffs’ constitutional rights as alleged herein. Defendant SGT. LOPEZ
  2    #36501 is sued in his individual capacity, and as a supervisor for his own culpable
  3    action or inaction in the training, supervision or control of Defendants
  4    UNIDENTIFIED LAPD OFFICERS, and his acquiescence in the constitutional
  5    deprivations which this Complaint alleges, and for the conduct that showed reckless
  6    or callous indifference for others.
  7          13.    At all times mentioned herein, each and every defendant was the agent
  8    of each and every other defendant and had the legal duty to oversee and supervise
  9    the hiring, conduct and employment of each and every defendant herein.
  10         14.    The true names of defendants DOES 1 through 50, are unknown to
  11   Plaintiffs, who therefore sues these defendants by such fictitious names. Plaintiffs
  12   will seek leave to amend this complaint to show the true names and capacities of
  13   these defendants when they have been ascertained. Each of the fictitious named
  14   defendants is responsible in some manner for the conduct and liabilities alleged
  15   herein.
  16         15.    In doing the acts and failing and omitting to act as hereinafter
  17   described, Defendants SGT. LOPEZ #36501 and UNIDENTIFIED LAPD
  18   OFFICERS, and each of them, were acting on the implied and actual permission
  19   and consent of CITY.
  20         16.    Defendants, and each of them, did the acts and omissions hereinafter
  21   alleged wilfully, intentionally, maliciously, in bad faith and with knowledge that
  22   their conduct violated well established and settled law.
  23         17.    Prior to the commencement of this action, Plaintiffs presented a
  24   government tort claim with CITY in full and timely compliance with the California
  25   Tort Claim Act. Said claim has been expressly denied or denied by operation of
  26   law by CITY. Plaintiffs have complied with the requirements of the Government
  27   Code for the timely filing of formal claims with CITY.
  28         18.    At all times herein relevant, Defendant CITY was the employer and/or
                                              ¾ 4 ¾
                                      COMPLAINT FOR DAMAGES
Case 2:22-cv-00157-DMG-JPR Document 1 Filed 01/07/22 Page 5 of 24 Page ID #:5



  1    principal of Defendants SGT. LOPEZ #36501 and UNIDENTIFIED LAPD
  2    OFFICERS, herein, and/or was and is legally responsible for the acts, omissions,
  3    and conduct of Defendants SGT. LOPEZ #36501 and UNIDENTIFIED LAPD
  4    OFFICERS, herein, within the meaning of Government Code §§ 815.2(a), 815.4,
  5    820(a), among other provisions, and is liable to Plaintiff by reason thereof.
  6          19.    At all times herein relevant, Defendants SGT. LOPEZ #36501 and
  7    UNIDENTIFIED LAPD OFFICERS, and each of them, were and are legally
  8    responsible for their acts, omissions, and conduct that gives rise to this lawsuit,
  9    within the meaning of Government Code § 820(a), among other provisions, and are
  10   liable to Plaintiffs by reason thereof.
  11                               GENERAL ALLEGATIONS
  12         20.    Plaintiffs re-allege and incorporate herein by reference each and every
  13   allegation and statement contained in the prior paragraphs, as though fully set forth
  14   herein.
  15         21.    Prior to filing this lawsuit, Plaintiffs submitted a California Public
  16   Records Act request to CITY to identify Defendant UNIDENTIFIED LAPD
  17   OFFICERS who unlawfully entered Plaintiffs’ residence and committed other
  18   unlawful acts as alleged herein, and CITY refused to comply with the California
  19   Public Records Act in identifying said Defendants. Plaintiffs will seek leave to
  20   amend this complaint to show the true names and capacities of these Defendants
  21   when they have been ascertained. Each of these Defendants is responsible in some
  22   manner for the conduct and liabilities alleged herein.
  23         22.    At all relevant times herein, Defendant GREYSTAR CALIFORNIA,
  24   INC. (hereinafter “GREYSTAR”), was in ownership, possession, control, and/or
  25   property managers of the property CIRCA, 1200 S. Figueroa Street, Los Angeles,
  26   California. (hereinafter “CIRCA”.)
  27         23.    At all relevant times herein, Defendant DEFENSE INTERNATIONAL
  28   CORPORATION (hereinafter “DEFENSE INTERNATIONAL”), were in
                                              ¾ 5 ¾
                                      COMPLAINT FOR DAMAGES
Case 2:22-cv-00157-DMG-JPR Document 1 Filed 01/07/22 Page 6 of 24 Page ID #:6



  1    ownership, possession, control, and/or provided security services at CIRCA.
  2          24.   At all relevant times herein, Plaintiffs resided in Unit 2324 at CIRCA,
  3    and the only way to gain access to Plaintiffs’ Unit by non-residents of CIRCA was
  4    by permission of Property Managers and Security Defendants.
  5          25.   On or about April 25, 2021, and into the early morning of April 26,
  6    2021, Defendants SGT. LOPEZ #36501 and UNIDENTIFIED LAPD OFFICERS
  7    entered the lobby of CIRCA and conspired and reached a meeting of the minds with
  8    Defendants GREYSTAR and DEFENSE INTERNATIONAL to unlawfully go up
  9    to Plaintiffs’ Unit on the 23rd Floor of CIRCA without a warrant or any valid legal
  10   basis for doing so. Defendants GREYSTAR and DEFENSE INTERNATIONAL
  11   permitted Defendants SGT. LOPEZ #36501 and UNIDENTIFIED LAPD
  12   OFFICERS to enter CIRCA past the lobby entrance and up to the 23rd Floor when
  13   Defendants GREYSTAR and DEFENSE INTERNATIONAL had a duty to prevent
  14   Defendants SGT. LOPEZ #36501 and UNIDENTIFIED LAPD OFFICERS from
  15   traveling up to Plaintiffs’ floor. Once on the 23rd Floor, Defendants SGT. LOPEZ
  16   #36501 and UNIDENTIFIED LAPD OFFICERS went over to Plaintiffs Unit and
  17   aggressively knocked on the door and ordered Plaintiffs to open the door. Plaintiff
  18   BRANDON PERNELL looked through the peak-hole and saw a shotgun pointed in
  19   his leg area through the door. Plaintiff BRANDON PERNELL then opened the
  20   door slightly when one of the UNIDENTIFIED LAPD OFFICERS put his foot in
  21   the door past the threshold and grabbed Plaintiff BRANDON PERNELL’s arms
  22   while he was inside of his Unit and yanked him out into the hallway of the 23rd
  23   floor and handcuffed him without reasonable suspicion, probable cause, or other
  24   legal justification to do so. Defendants SGT. LOPEZ #36501 and UNIDENTIFIED
  25   LAPD OFFICERS refused to explain to Plaintiff BRANDON PERNELL why he
  26   was handcuffed and under arrest even though he repeatedly requested for an
  27   explanation. Defendants refused to answer in violation of California Penal Code §
  28   841. Defendants SGT. LOPEZ #36501 and UNIDENTIFIED LAPD OFFICERS
                                            ¾ 6 ¾
                                    COMPLAINT FOR DAMAGES
Case 2:22-cv-00157-DMG-JPR Document 1 Filed 01/07/22 Page 7 of 24 Page ID #:7



  1    then asked Plaintiff BRANDON PERNELL if anyone else was inside the Unit, and
  2    he responded that Plaintiff KARLY BROWN was. Defendants then ordered
  3    Plaintiff BRANDON PERNELL to make Plaintiff KARLY BROWN to come
  4    outside of the Unit, so Plaintiff BRANDON PERNELL complied and yelled for her
  5    to come out of the Unit. When Plaintiff KARLY BROWN reached the door and
  6    while still inside the Unit, one of the UNIDENTIFIED LAPD OFFICERS pointed a
  7    shotgun at her and ordered her out of the Unit, to which she complied and was
  8    placed under arrest in the hallway. Defendants SGT. LOPEZ #36501 and
  9    UNIDENTIFIED LAPD OFFICERS then entered Plaintiffs’ residence without a
  10   warrant and without any legal justification to do so. After around 30 minutes,
  11   Defendants SGT. LOPEZ #36501 and UNIDENTIFIED LAPD OFFICERS exited
  12   Plaintiffs’ Unit, unhandcuffed them to release them, and left without a lawful
  13   explanation for the unlawful entry into Plaintiffs’ Unit, detention and arrest of
  14   Plaintiffs, and use of force against Plaintiffs.
  15          26.    During the unlawful entry, detention and arrest of Plaintiffs, and use of
  16   force, SGT. LOPEZ #36501 was the supervising officer of Defendants
  17   UNIDENTIFIED LAPD OFFICERS, and he approved of Defendants
  18   UNIDENTIFIED LAPD OFFICERS unlawful actions and inactions.
  19          27.    In accordance with CITY’s custom and practice, Defendants SGT.
  20   LOPEZ #36501 and UNIDENTIFIED LAPD OFFICERS racially profiled Plaintiffs
  21   and willfully failed to document these unlawful activities by failing to draft incident
  22   reports of the unlawful entry and/or to activate their body worn cameras during the
  23   entire incident, which said conduct violated LAPD policies.
  24          28.    CITY has failed to investigate and discipline Defendants SGT. LOPEZ
  25   #36501 and UNIDENTIFIED LAPD OFFICERS for their unlawful conduct with
  26   Plaintiffs.
  27          29.    At all times herein relevant, Plaintiffs were unarmed, not posing a
  28   threat to anyone, and were not violating any laws.
                                               ¾ 7 ¾
                                       COMPLAINT FOR DAMAGES
Case 2:22-cv-00157-DMG-JPR Document 1 Filed 01/07/22 Page 8 of 24 Page ID #:8



  1          30.    Prior to April 25, 2021, CITY had a pattern, practice and custom of
  2    permitting the LAPD to racially profile minorities, to not document or report
  3    unlawful detentions, arrests, use of force, unlawful entries into residences, to
  4    suppress evidence, and to promote dishonesty amongst the LAPD by failing to
  5    investigate and discipline its officers who engaged in such unlawful conduct, and
  6    sanctioned a code of silence for said unlawful conduct.
  7          31.    As a direct result of Defendants’ illegal entry, wrongful detention and
  8    arrest of Plaintiffs, and use of excessive force when there was no legal reason to
  9    detain Plaintiffs, Plaintiffs suffered severe pain and suffering, mental anguish,
  10   humiliation, and emotional distress.
  11                              FIRST CLAIM FOR RELIEF
  12     Unreasonable Search & Seizure-Unlawful Entry, Detention and Arrest (42
  13                                       U.S.C. § 1983)
  14                           (Against All Defendants Save CITY)
  15         32.    Plaintiffs re-allege and incorporate herein by reference each and every
  16   allegation and statement contained in the prior paragraphs, as though fully set forth
  17   herein.
  18         33.    Defendants illegally entered Plaintiffs’ residence without a warrant,
  19   detained and arrested Plaintiffs in violation of their right to be free of an unlawful
  20   entry into their residence and to be secure in their person against unreasonable
  21   searches and seizures as guaranteed to the Plaintiffs under the Fourth Amendment
  22   to the United States Constitution and applied to state actors by the Fourteenth
  23   Amendment, or Defendants failed to prevent such conduct when they had an
  24   opportunity to do so.
  25         34.    The actions and inactions of Defendants deprived Plaintiffs of their
  26   right to be free from state actions that shock the conscience under the Fourteenth
  27   Amendment’s Due Process Clause.
  28         35.    As a result of the actions and inactions of Defendants, Defendants are
                                              ¾ 8 ¾
                                      COMPLAINT FOR DAMAGES
Case 2:22-cv-00157-DMG-JPR Document 1 Filed 01/07/22 Page 9 of 24 Page ID #:9



  1    liable for Plaintiffs’ injuries, either because they were integral participants in the
  2    illegal entry and wrongful detention and arrest, or because they failed to intervene
  3    to prevent these violations. Defendants actions and/or omissions were the direct and
  4    proximal cause of Plaintiff’s damages.
  5          36.    The above acts of omissions of Defendants were undertaken while
  6    under color of state law and resulted in the violation of Plaintiffs’ constitutional
  7    rights, as stated herein.
  8          37.    As a direct and proximate result of conduct of Defendants, Plaintiffs
  9    were substantially physically, mentally and emotionally injured, and endured great
  10   physical, mental and emotional pain and suffering, and incurred other general
  11   damages and expenses in an amount according to proof at trial.
  12         38.    The conduct of Defendants, and each of them, was willful, wanton,
  13   malicious and done with an evil motive and intent and a reckless disregard for the
  14   rights and safety of Plaintiffs and therefore warrants the imposition of exemplary
  15   and punitive damages as to Defendants, and each of them.
  16         39.    Accordingly, Defendants, and each of them, are liable to Plaintiffs for
  17   compensatory and punitive damages under 42 U.S.C. § 1983.
  18                               SECOND CLAIM FOR RELIEF
  19          Unreasonable Search & Seizure-Excessive Force (42 U.S.C. § 1983)
  20                           (Against All Defendants Save CITY)
  21         40.    Plaintiffs re-allege and incorporate herein by reference each and every
  22   allegation and statement contained in the prior paragraphs, as though fully set forth
  23   herein.
  24         41.    The unjustified use of excessive force by Defendants when they
  25   restrained Plaintiffs at their residence with their guns drawn and placed handcuffs
  26   on Plaintiffs when Defendants lacked any legal reason to do so, deprived Plaintiffs
  27   of their right to be secure in their person against excessive force and unreasonable
  28   searches and seizures as guaranteed to Plaintiffs under the Fourth Amendment to
                                              ¾ 9 ¾
                                      COMPLAINT FOR DAMAGES
Case 2:22-cv-00157-DMG-JPR Document 1 Filed 01/07/22 Page 10 of 24 Page ID #:10



   1    the United States Constitution and applied to state actors by the Fourteenth
   2    Amendment.
   3          42.    The actions and inactions of Defendants deprived Plaintiffs of their
   4    right to be free from state actions that shock the conscience under the Fourteenth
   5    Amendment’s Due Process Clause.
   6          43.    As a result of the actions and inactions of Defendants, Defendants are
   7    liable for Plaintiffs’ injuries, either because they were integral participants in the
   8    unlawful use of force, or because they failed to intervene to prevent these
   9    violations. Defendants actions and/or omissions were the direct and proximal cause
   10   of Plaintiff’s damages.
   11         44.    The above acts of omissions of Defendants were undertaken while
   12   under color of state law and resulted in the violation of Plaintiffs’ constitutional
   13   rights, as stated herein.
   14         45.    As a direct and proximate result of conduct of Defendants, Plaintiffs
   15   were substantially physically, mentally and emotionally injured, and endured great
   16   physical, mental and emotional pain and suffering, and incurred other general
   17   damages and expenses in an amount according to proof at trial.
   18         46.    The conduct of Defendants, and each of them, was willful, wanton,
   19   malicious and done with an evil motive and intent and a reckless disregard for the
   20   rights and safety of Plaintiffs and therefore warrants the imposition of exemplary
   21   and punitive damages as to Defendants, and each of them.
   22         47.    Accordingly, Defendants, and each of them, are liable to Plaintiffs for
   23   compensatory and punitive damages under 42 U.S.C. § 1983.
   24                               THIRD CLAIM FOR RELIEF
   25                  Conspiracy to Violate Civil Rights (42 U.S.C. § 1983)
   26                             (Against All Defendants Save CITY)
   27         48.    Plaintiffs re-allege and incorporate herein by reference each and every
   28   allegation and statement contained in the prior paragraphs, as though fully set forth
                                               ¾ 10 ¾
                                        COMPLAINT FOR DAMAGES
Case 2:22-cv-00157-DMG-JPR Document 1 Filed 01/07/22 Page 11 of 24 Page ID #:11



   1    herein.
   2           49.   During the course of this incident, Defendants conspired to and in fact
   3    did deprive Plaintiffs of their right to be free from an unlawful entry into one’s
   4    residence and to be secure in their person against unreasonable searches and
   5    seizures, and of his right to be free from state actions that shock the conscience, as
   6    guaranteed by the Fourth and Fourteenth Amendments.
   7           50.   All rights of Plaintiffs, as set forth, were violated by Defendants by
   8    their illegal entry into Plaintiffs’ residence, detention and arrest of Plaintiffs,
   9    wrongful use of excessive force, and cover up, as more specifically set forth herein.
   10          51.   On information and belief, Defendants agreed and conspired, and
   11   shared the same conspiratorial objective with each other to illegally enter the
   12   residence of Plaintiffs, detain and arrest Plaintiffs without legal reason to do so, use
   13   excessive force against Plaintiffs, and covered up their misdeeds in violation of
   14   Plaintiffs’ constitutional rights.
   15          52.   The above acts of omissions of Defendants were undertaken while
   16   under color of state law and resulted in the violation of Plaintiffs’ constitutional
   17   rights, as stated herein.
   18          53.   As a direct and proximate result of conduct of Defendants, Plaintiffs
   19   were substantially physically, mentally and emotionally injured, and endured great
   20   physical, mental and emotional pain and suffering, and incurred other general
   21   damages and expenses in an amount according to proof at trial.
   22          54.   The conduct of Defendants, and each of them, was willful, wanton,
   23   malicious and done with an evil motive and intent and a reckless disregard for the
   24   rights and safety of Plaintiffs and therefore warrants the imposition of exemplary
   25   and punitive damages as to Defendants, and each of them.
   26          55.   Accordingly, Defendants, and each of them, are liable to Plaintiffs for
   27   compensatory and punitive damages under 42 U.S.C. § 1983.
   28   //
                                               ¾ 11 ¾
                                        COMPLAINT FOR DAMAGES
Case 2:22-cv-00157-DMG-JPR Document 1 Filed 01/07/22 Page 12 of 24 Page ID #:12



   1                             FOURTH CLAIM FOR RELIEF
   2     Municipal Liability for Unconstitutional Custom or Policy (42 U.S.C. §1983)
   3                                 (Against Defendant CITY)
   4          56.    Plaintiffs re-allege and incorporate herein by reference each and every
   5    allegation and statement contained in the prior paragraphs, as though fully set forth
   6    herein.
   7          57.    Defendant CITY is and at all times herein mentioned has been a public
   8    entity and incorporated municipality duly authorized and existing as such in and
   9    under the laws of the State of California; and at all times herein mentioned,
   10   Defendant CITY and the LAPD possessed the power and authority to adopt polices
   11   and prescribe rules, regulations and practices affecting the operation of the CITY
   12   and of the LAPD and its tactics, methods, practices, customs and usages related to
   13   internal investigations, personnel supervision and records maintenance and the
   14   proper application of their powers of arrest by its rank and file, generally.
   15         58.    At all times herein mentioned, Defendants SGT. LOPEZ #36501 and
   16   UNIDENTIFIED LAPD OFFICERS, and each of them, were employees of the
   17   LAPD acting under the CITY’s direction and control, who knowingly and
   18   intentionally promulgated, maintained, applied, enforced and suffered the
   19   continuation of policies, customs, practices and usages in violation of the Fourth
   20   and Fourteenth Amendments respectively to the United States Constitution, which
   21   customs, policies, practices and usages at all times herein mentioned encouraged
   22   the employment, deployment and retention of persons as peace officers who have a
   23   propensity for brutality, dishonesty, bias, bigotry, and numerous other serious
   24   abuses of their duties as peace officers in the employment of the LAPD and CITY.
   25         59.    Defendant CITY knowingly maintains and permits official sub-rosa
   26   policies or customs of permitting the occurrence of the kinds of wrongs set forth
   27   above, by deliberate indifference to widespread police abuses, failing and refusing
   28   to fairly and impartially investigate, discipline or prosecute officers who commit
                                              ¾ 12 ¾
                                       COMPLAINT FOR DAMAGES
Case 2:22-cv-00157-DMG-JPR Document 1 Filed 01/07/22 Page 13 of 24 Page ID #:13



   1    acts of wrongful arrests, racial profiling, dishonesty and crimes under color of law,
   2    each ratified and approved by the LAPD.
   3          60.    On and for some time prior to April 25, 2021 (and continuing to the
   4    present date) Defendant CITY, deprived Plaintiffs of the rights and liberties secured
   5    to them by the Fourth and Fourteenth Amendments to the United States
   6    Constitution, in that said defendants and their supervising and managerial
   7    employees, agents, and representatives, acting with gross negligence and with
   8    reckless and deliberate indifference to the rights and liberties of the public in
   9    general, of Plaintiffs, and of persons in their class, situation and comparable
   10   position in particular, knowingly maintained, enforced and applied an official
   11   recognized CITY custom, policy, and practice of, or ratified, directed, encouraged,
   12   and/or allowed the following:
   13         (a)    Defendant CITY had knowledge, prior to and since this incident, of
   14                repeated allegations of abuse and misconduct involving unlawful entry
   15                into residences, detaining and arresting citizens, racial profiling and
   16                animus, and using excessive force; specifically, CITY knew
   17                Defendants SGT. LOPEZ #36501 and UNIDENTIFIED LAPD
   18                OFFICERS, and each of them, had in the past and since Plaintiffs’
   19                incident, committed similar acts of racial profiling, failing to document
   20                unlawful incidents, unlawful entries, unlawful detainment and arrests,
   21                unlawful use of force, suppressing evidence, dishonesty and abuse,
   22                thereby enabling Defendants to continue to violate the constitutional
   23                rights of the Plaintiffs in 2021 and thereafter;
   24         (b)    Defendant CITY had knowledge, prior to and since this incident, of
   25                similar allegations of racial profiling, failing to document unlawful
   26                incidents, unlawful entries, unlawful detainment and arrests, unlawful
   27                use of force, suppressing evidence, dishonesty and abuse by
   28                Defendants, and refused to enforce established administrative
                                               ¾ 13 ¾
                                        COMPLAINT FOR DAMAGES
Case 2:22-cv-00157-DMG-JPR Document 1 Filed 01/07/22 Page 14 of 24 Page ID #:14



   1               procedures to insure the rights of those affected by these unlawful
   2               practices;
   3         (c)   Defendant CITY and LAPD refused to adequately discipline individual
   4               officers and employees found to have committed similar acts of abuse
   5               and misconduct;
   6         (d)   Defendant CITY and LAPD refused to competently and impartially

   7               investigate allegations of abuse and misconduct alleged to have been
                   committed by Department employees;
   8
             (e)   Defendant CITY and LAPD reprimanded, threatened, intimidated,
   9
                   demoted and fired officers who courageously reported unlawful acts by
   10
                   other officers;
   11
             (f)   Defendant CITY and LAPD covered up acts of misconduct and abuse
   12
                   by CITY officers and sanctioned a code of silence by and among
   13
                   officers and management;
   14
             (g)   Defendant CITY and LAPD knew of and sanctioned the custom and
   15
                   practice of racial profiling, failing to document unlawful incidents,
   16              unlawful entries, unlawful detainment and arrests, unlawful use of
   17              force, suppressing evidence, dishonesty and abuse;
   18        (h)   Defendant CITY and LAPD failed to adequately supervise the actions
   19              of officers under their control and guidance;
   20        (i)   Defendant CITY and LAPD historically condone and encourage
   21              systemic conspiracy of silence among its employees for the purpose of
   22              concealing and further wrongful and illegal conduct by its employees;
   23        (j)   Defendant CITY and LAPD fail and refuse to comply with California
   24              Penal Code Sections 841, 832.5, and 12201(e) by withholding from the

   25              California Department of Justice, known citizen complaints of officer
                   misconduct, thereby evading the Department’s statutory duty to report
   26
                   all known citizen complaints to the California Department of Justice
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                                            ¾ 14 ¾
                                     COMPLAINT FOR DAMAGES
Case 2:22-cv-00157-DMG-JPR Document 1 Filed 01/07/22 Page 15 of 24 Page ID #:15



   1                  and to mislead the Department of Justice with substantial under
   2                  reporting of known citizen complaints, including the Plaintiffs;
   3           (k)    Defendant CITY and LAPD fostered and encouraged an atmosphere of
   4                  lawlessness, abuse and misconduct, which by April 25, 2021, and
   5                  thereafter, represented the unconstitutional policies practices and
   6                  customs of the CITY and LAPD.
   7           61.   By reason of the aforementioned policies and practices of Defendant
   8    CITY and LAPD, Plaintiffs have suffered severe pain and suffering, mental
   9    anguish, humiliation, and emotional distress.
   10          62.   Defendant CITY and the LAPD, together with various other officials,
   11   whether named or unnamed, had either actual or constructive knowledge of the
   12   deficient policies, practices and customs alleged in the paragraphs above. Despite
   13   having knowledge as stated above these defendants condoned, tolerated and
   14   through actions and inactions thereby ratified such policies. Said defendants also
   15   acted with deliberate indifference to the foreseeable effects and consequences of
   16   these policies with respect to the constitutional rights of Plaintiffs, and other
   17   individuals similarly situated.
   18          63.   By perpetrating, sanctioning, tolerating and ratifying the outrageous
   19   conduct and other wrongful acts, Defendant CITY and LAPD acted with an
   20   intentional, reckless, and callous disregard for the well being of Plaintiffs and their
   21   constitutional as well as human rights. Defendant CITY and LAPD and each of
   22   their actions were willful, wanton, oppressive, malicious, fraudulent, and extremely
   23   offensive and unconscionable to any person of normal sensibilities.
   24          64.   Furthermore, the policies, practices, and customs implemented and
   25   maintained and still tolerated by Defendant CITY and LAPD were affirmatively
   26   linked to and were a significantly influential force and moving force behind the
   27   Plaintiffs’ injuries.
   28          65.   By reason of the aforesaid policies, customs, practices and usages,

                                                 ¾ 15 ¾
                                          COMPLAINT FOR DAMAGES
Case 2:22-cv-00157-DMG-JPR Document 1 Filed 01/07/22 Page 16 of 24 Page ID #:16



   1    Plaintiffs’ Fourth and Fourteenth Amendments to the United States Constitution
   2    were violated. Said customs, policies, practices and usages at all times herein
   3    mentioned violated constitutional rights including those of the Plaintiffs.
   4          66.   By reason and pursuant to the aforesaid policies, practices, customs,
   5    and usages, Plaintiffs’ aforementioned constitutional rights were deprived and
   6    Plaintiffs proximately suffered general damages in an amount to be proved at trial.
   7          67.   Accordingly, Defendant CITY is liable to Plaintiffs for compensatory
   8    damages under 42 U.S.C. § 1983.
   9                              FIFTH CLAIM FOR RELIEF
   10                        Supervisory Liability (42 U.S.C. § 1983)
   11                       (Against Defendant SGT. LOPEZ #36501)
   12         68.   Plaintiffs re-allege and incorporate herein by reference each and every
   13   allegation and statement contained in the prior paragraphs, as though fully set forth
   14   herein.
   15         69.   Plaintiffs are informed and believe and thereon allege that Defendant
   16   SGT. LOPEZ #36501 knew, or in the exercise of reasonable care, should have
   17   known of a history and propensity and pattern at the time of this incident for
   18   Defendants UNIDENTIFIED LAPD OFFICERS to unlawfully enter residences,
   19   detain and arrest individuals, and use excessive force based upon racial profiling.
   20   Defendant SGT. LOPEZ #36501 disregard of this knowledge or failure to
   21   adequately investigate and discover and correct such acts or failures to act was a
   22   moving force which caused the violation of Plaintiffs’ constitutional rights.
   23         70.   Plaintiffs are informed and believe and thereon allege that prior to the
   24   incident alleged herein, Defendant SGT. LOPEZ #36501 acting under the color of
   25   his authority as supervisory employee of Defendants UNIDENTIFIED LAPD
   26   OFFICERS, and in the course and scope of his employment as such, committed
   27   similar acts of unlawful entries, detentions and arrests individuals, and use
   28   excessive force based upon racial profiling and animus.
                                             ¾ 16 ¾
                                      COMPLAINT FOR DAMAGES
Case 2:22-cv-00157-DMG-JPR Document 1 Filed 01/07/22 Page 17 of 24 Page ID #:17



   1          71.    Plaintiffs are further informed and believe and thereon allege that
   2    Defendant SGT. LOPEZ #36501 knew, or in the exercise of reasonable care should
   3    have known, of this pattern or practice of unconstitutional violations, or the
   4    existence of facts which create the potential of unconstitutional acts, and this
   5    Defendant had a duty to train and instruct his subordinates to prevent similar acts to
   6    other individuals, but failed to take steps to properly train, supervise, investigate or
   7    instruct Defendants UNIDENTIFIED LAPD OFFICERS, and to retain Defendants
   8    UNIDENTIFIED LAPD OFFICERS who had a history of inappropriate and
   9    unlawful conduct, and as a result Plaintiffs were harmed in the manner threatened
   10   by the pattern or practice.
   11         72.    As a direct and proximate result of conduct of Defendant, Plaintiffs
   12   were substantially physically, mentally and emotionally injured, and endured great
   13   physical, mental and emotional pain and suffering, and incurred other general
   14   damages and expenses in an amount according to proof at trial.
   15         73.    The conduct of Defendant was willful, wanton, malicious and done
   16   with an evil motive and intent and a reckless disregard for the rights and safety of
   17   Plaintiffs and therefore warrants the imposition of exemplary and punitive damages
   18   as to Defendant.
   19         74.    Accordingly, Defendant is liable to Plaintiffs for compensatory and
   20   punitive damages under 42 U.S.C. § 1983.
   21                                 SIXTH CLAIM FOR RELIEF
   22                                         Negligence
   23                                   (Against All Defendants)
   24         75.    Plaintiffs re-allege and incorporate herein by reference each and every
   25   allegation and statement contained in the prior paragraphs, as though fully set forth
   26   herein.
   27         76.    At the aforementioned time and place, Defendants GREYSTAR and
   28   DEFENSE INTERNATIONAL, negligently maintained, managed, controlled and
                                               ¾ 17 ¾
                                        COMPLAINT FOR DAMAGES
Case 2:22-cv-00157-DMG-JPR Document 1 Filed 01/07/22 Page 18 of 24 Page ID #:18



   1    operated CIRCA.
   2          77.    By virtue of the foregoing, Defendants owed Plaintiffs a duty of due
   3    care, and that duty was breached by Defendants’ negligence and failure to exercise
   4    due care in dealing with, entering Plaintiffs’ residence, detaining and arresting, and
   5    using physical force against Plaintiffs.
   6          78.    Defendant CITY possessed the power and authority to hire and fire
   7    employees of the LAPD and based upon information and belief and negligently
   8    hired Defendants SGT. LOPEZ #36501 and UNIDENTIFIED LAPD OFFICERS,
   9    and each of them, as police officers, entrusted them with the following duties:
   10   protect citizens, contact citizens, conduct reasonable investigations based upon
   11   reasonable beliefs, and avoid unlawful force.
   12         79.    By virtue of the foregoing, Defendant CITY owed Plaintiffs a duty of
   13   due care, and that duty was breached by City’s negligent and careless manner in
   14   hiring, training, supervising and retaining by, among other things:
   15         a)     Failing to adequately train its officers in the use of force and lawful
   16   entries, as well as constitutional limitations in the use of force and lawful entries;
   17         b)     Failing to adequately train its officers in identifying a person that
   18   presents a threat of force or violence, as opposed to one that does not;

   19         c)     Failing to adequately investigate background, training and experience
        as a officer and his propensity for violence;
   20
              d)     Failing to provide adequate supervisory control over the actions of its
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        officers in regard to adequate training, supervision, equipment, planning, oversight,
   22
        and administration;
   23
              e)     Failing to control the conduct of its officers who have a known
   24
        propensity for violence and in failing to discipline its officers;
   25
              f)     Failing to investigate in good faith, allegations of excessive and
   26
        unreasonable use of force and unlawful arrests by its officers;
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                                              ¾ 18 ¾
                                       COMPLAINT FOR DAMAGES
Case 2:22-cv-00157-DMG-JPR Document 1 Filed 01/07/22 Page 19 of 24 Page ID #:19



   1          g)       Failing to discipline its officers who use excessive and unreasonable
   2    force and unlawful arrests; and,
   3              h)   Sanctioning, condoning and approving a law enforcement-wide custom
   4    and practice of a code of silence, cover-up and dishonesty.
   5          80.      As a direct and proximate cause of the aforementioned acts of
   6    Defendants, Plaintiffs were injured as set forth above and is entitled to
   7    compensatory damages according to proof at the time of trial.
   8          81.      As a direct and proximate result of the foregoing, Plaintiffs have
   9    damages as recited above and demand and is entitled to damages, including, but not
   10   limited to, general and punitive damages (except as to Defendants CITY for
   11   punitive damages), and any other relief allowable at law or in equity.
   12                             SEVENTH CLAIM FOR RELIEF
   13                                      Assault & Battery
   14                                  (Against All Defendants)
   15         82.      Plaintiffs re-allege and incorporate herein by reference each and every
   16   allegation and statement contained in the prior paragraphs, as though fully set forth
   17   herein.
   18         83.      Defendants used or caused physical force against Plaintiffs without
   19   legal justification or excuse, knowing full well that Plaintiffs had committed no
   20   crimes, were unarmed and that they posed no threat to the officers or anyone else.
   21         84.      Defendants intentionally, willfully and recklessly committed an assault
   22   and battery on the person of Plaintiffs, deliberately intending to cause severe injury
   23   to the person of Plaintiffs.
   24         85.      As a direct and proximate cause of the aforementioned acts of
   25   Defendants, Plaintiffs were injured as set forth above and is entitled to
   26   compensatory damages according to proof at the time of trial.
   27         86.      As a direct and proximate result of the foregoing, Plaintiffs have
   28   damages as recited above and demand and is entitled to damages, including, but not

                                               ¾ 19 ¾
                                        COMPLAINT FOR DAMAGES
Case 2:22-cv-00157-DMG-JPR Document 1 Filed 01/07/22 Page 20 of 24 Page ID #:20



   1    limited to, general and punitive damages (except as to Defendants CITY for
   2    punitive damages), and any other relief allowable at law or in equity.
   3                               EIGHTH CLAIM FOR RELIEF
   4                                           Trespass
   5                                   (Against All Defendants)
   6            87.   Plaintiffs re-allege and incorporate herein by reference each and every
   7    allegation and statement contained in the prior paragraphs, as though fully set forth
   8    herein.
   9            88.   Defendants entered Plaintiffs’ Unit, or caused the entry of Plaintiffs’
   10   Unit.
   11           89.   Plaintiffs did not give permission for the entry by Defendants.
   12           90.   As a direct and proximate cause of the aforementioned acts of
   13   Defendants, Plaintiffs were injured as set forth above and is entitled to
   14   compensatory damages according to proof at the time of trial.
   15           91.   As a direct and proximate result of the foregoing, Plaintiffs have
   16   damages as recited above and demand and is entitled to damages, including, but not
   17   limited to, general and punitive damages (except as to Defendants CITY for
   18   punitive damages), and any other relief allowable at law or in equity.
   19                              NINTH CLAIM FOR RELIEF
   20                                     Invasion of Privacy
   21                                  (Against All Defendants)
   22           92.   Plaintiffs re-allege and incorporate herein by reference each and every
   23   allegation and statement contained in the prior paragraphs, as though fully set forth
   24   herein.
   25           93.   Plaintiffs had a reasonable expectation of privacy in their Unit.
   26           94.   Defendants intentionally intruded into Plaintiffs’ Unit as alleged herein,
   27   or caused the intrusion.
   28           95.   Defendants intrusion would be highly offensive to a reasonable person.
                                              ¾ 20 ¾
                                       COMPLAINT FOR DAMAGES
Case 2:22-cv-00157-DMG-JPR Document 1 Filed 01/07/22 Page 21 of 24 Page ID #:21



   1          96.    As a direct and proximate cause of the aforementioned acts of
   2    Defendants, Plaintiffs were injured as set forth above and is entitled to
   3    compensatory damages according to proof at the time of trial.
   4          97.    As a direct and proximate result of the foregoing, Plaintiffs have
   5    damages as recited above and demand and is entitled to damages, including, but not
   6    limited to, general and punitive damages (except as to Defendants CITY for
   7    punitive damages), and any other relief allowable at law or in equity.
   8                              TENTH CLAIM FOR RELIEF
   9                              Bane Act [Cal. Civ. Code § 52.1]
   10                                 (Against All Defendants)
   11         98.    Plaintiffs re-allege and incorporate herein by reference each and every
   12   allegation and statement contained in the prior paragraphs, as though fully set forth
   13   herein.
   14         99.    The actions of Defendants, as complained of herein, interfered with,
   15   and/or attempted to interfere with, by use of threats, intimidation, and coercion to
   16   Plaintiffs and/or their property, the exercise or enjoyment by Plaintiffs the rights
   17   secured to them by the California Constitution and otherwise by California law, in
   18   violation of California Civil Code § 52.1. Specifically, Defendants unlawfully
   19   entered Plaintiffs residence. Defendants are liable to Plaintiffs for said violations of
   20   their constitutional rights, pursuant to California Civil Code § 52.1, amongst other
   21   sections as alleged herein.
   22         100. As a direct and proximate cause of the aforementioned acts of
   23   Defendants, Plaintiffs were injured as set forth above and is entitled to
   24   compensatory damages according to proof at the time of trial.
   25         101. As a direct and proximate result of the foregoing, Plaintiffs have
   26   damages as recited above and demands and is entitled to, including, but not limited
   27   to, general and punitive damages (except as to Defendants CITY for punitive
   28   damages), treble compensatory damages, attorney’s fees, and any other relief
                                              ¾ 21 ¾
                                       COMPLAINT FOR DAMAGES
Case 2:22-cv-00157-DMG-JPR Document 1 Filed 01/07/22 Page 22 of 24 Page ID #:22



   1    allowable at law or in equity.
   2                            ELEVENTH CLAIM FOR RELIEF
   3                              Ralph Act [Cal. Civ. Code § 51.7]
   4                                  (Against All Defendants)
   5          102. Plaintiffs re-allege and incorporate herein by reference each and every
   6    allegation and statement contained in the prior paragraphs, as though fully set forth
   7    herein.
   8          103. The actions of Defendants, as complained of herein, interfered with,
   9    and/or attempted to interfere with, by use of threats, intimidation, and coercion, the
   10   exercise or enjoyment by Plaintiffs the rights secured to them by the California
   11   Constitution and otherwise by California law, in violation of California Civil Code
   12   § 51.7. Specifically, Defendants detained, arrested, assaulted, and battered
   13   Plaintiffs when Defendants had no legal right to do so, and Defendants knew that
   14   Plaintiffs were African-American and Asian-American. Defendants are liable to
   15   Plaintiffs for said violations of their constitutional rights, pursuant to California
   16   Civil Code § 57.1.
   17         104. At all relevant times herein, Defendants, and each of them, with animus
   18   towards African-American and Asian-American, knew that Plaintiffs were African-
   19   American and Asian-American.
   20         105. Defendants committed violent acts against Plaintiffs by using
   21   unreasonable and excessive force.
   22         106. In committing the aforementioned acts, the substantial motivating
   23   reason for the Defendants’ animus towards Plaintiffs was that Plaintiffs were
   24   African-American and Asian-American.
   25         107. As a direct and proximate result of the foregoing, Plaintiffs have
   26   damages as recited above and demand and is entitled to damages, including, but not
   27   limited to, general and punitive damages (except as to Defendant CITY for punitive
   28   damages), a civil penalty of $25,000 for each act of animus, attorney’s fees, and any
                                                ¾ 22 ¾
                                         COMPLAINT FOR DAMAGES
Case 2:22-cv-00157-DMG-JPR Document 1 Filed 01/07/22 Page 23 of 24 Page ID #:23



   1    other relief allowable at law or in equity.
   2                                 PRAYER FOR DAMAGES
   3          WHEREFORE, Plaintiffs hereby prays for judgment against Defendants
   4    CITY OF LOS ANGELES, SGT. LOPEZ #36501, UNIDENTIFIED LAPD
   5    OFFICERS, DEFENSE INTERNATIONAL CORPORATION, and GREYSTAR
   6    CALIFORNIA, INC., and each of them, as follows:
   7       1. For general damages (also known as non-economic damages), in an amount in
   8          excess of the jurisdictional minimum, according to proof;
   9       2. For special damages (also known as economic damages), in excess of the
   10         jurisdiction minimum, according to proof;
   11      3. For punitive damages (also known as exemplary damages) as provided by law,
   12         in an amount to be proved against each individual Defendant;
   13      4. For attorney’s fees and costs;
   14      5. Any civil penalties, including $25,000.00 per occurrence and treble damages,
   15         according to proof;
   16      6. For prejudgment interest, according to proof;
   17      7. For any recoverable costs of suit incurred herein, according to proof; and,
   18      8. For such other and further relief as the Court may deem just and proper.
   19
   20
        Dated: Jan. 7, 2022         BY: LAW OFFICE OF KEVIN S. CONLOGUE
                                            ___/s/Kevin S. Conlogue___________
   21                                       Kevin S. Conlogue, Esq.
   22                                       Attorney for Plaintiffs

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                                       COMPLAINT FOR DAMAGES
Case 2:22-cv-00157-DMG-JPR Document 1 Filed 01/07/22 Page 24 of 24 Page ID #:24



   1                              DEMAND FOR JURY TRIAL
   2          Plaintiffs hereby demand a trial by jury as to all claims for relief.
   3
   4    Dated: Jan. 7, 2022       BY: LAW OFFICE OF KEVIN S. CONLOGUE
                                          ___/s/Kevin S. Conlogue___________
   5                                      Kevin S. Conlogue, Esq.
   6                                      Attorney for Plaintiffs
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                                       DEMAND FOR JURY TRIAL
